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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
JENNIFER SHARKEY,                      :              10cv3824 (DLC)
                                       :
                         Plaintiff,    :            OPINION AND ORDER
                                       :
               -v-                     :
                                       :
J.P. MORGAN CHASE & CO., JOE KENNEY,   :
ADAM GREEN, and LESLIE LASSITER, in    :
their official and individual          :
capacities,                            :
                         Defendants.   :
                                       :
-------------------------------------- X

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DENISE COTE, District Judge:

    This Sarbanes-Oxley retaliation case has been pending for

nearly nine years.   After multiple dismissals and appeals, the

case was tried to verdict before a jury in November 2017.          At

the conclusion of the five-day trial, the jury awarded plaintiff

Jennifer Sharkey (“Sharkey”) $563,000 in back pay damages, and

an identical amount for her emotional distress.        Neither amount

can be supported by the trial record.       With reluctance, the
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Court concludes that awards of damages of this magnitude reflect

a verdict infected by passion and prejudice.        Defendants have

moved for post-verdict relief.     For the reasons given below,

judgment as a matter of law is entered in the defendants’ favor

on a portion of the damages claim, a new trial is conditionally

ordered on that portion of the damages, and a new trial is

ordered on liability and the remainder of the plaintiff’s

request for damages.

                        PROCEDURAL BACKGROUND

    Following her discharge in August 2009 by J.P. Morgan Chase

& Co. (“J.P. Morgan”), on October 22, 2009, Sharkey filed a

complaint with the Occupational Safety and Health Administration

(“OSHA”) alleging violations of Sarbanes-Oxley Act of 2002, 18

U.S.C. § 1514A (“SOX”).    On or about April 12, 2010, OSHA issued

an order dismissing her complaint.

    Sharkey then brought this action by filing a complaint on

May 10, 2010, alleging the same SOX claims.        The case was

assigned to the Honorable Robert W. Sweet.       Defendants moved to

dismiss the complaint, and on January 14, 2011, the motion was

granted with leave to replead.     Sharkey v. J.P. Morgan Chase,

2011 WL 135026 (S.D.N.Y. Jan. 14, 2011).       A subsequent motion to

dismiss the amended complaint was denied on August 19, 2011.

Sharkey v. J.P. Morgan Chase, 805 F. Supp. 2d 45 (S.D.N.Y.


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2011).

    On December 12, 2013, Judge Sweet granted the defendants’

motion for summary judgment.     Sharkey v. J.P. Morgan Chase, 2013

WL 10796833 (S.D.N.Y. Dec. 12, 2013).       The Second Circuit

vacated and remanded that decision on October 9, 2014 for

reconsideration in light of Nielsen v. AECOM Tech. Corp., 762

F.3d 214, 221-22 (2d Cir. 2014) and Bechtel v. Admin. Review

Bd., 710 F.3d 443, 451 (2d Cir. 2013).       Sharkey v. J.P. Morgan

Chase, 580 F. App’x 28 (2d Cir. 2014).

    The defendants again moved for summary judgment, and on

October 9, 2015, the motion was granted on the basis that

Sharkey had failed to make a prima facie showing that any

protected activity under SOX was a contributing factor in her

firing.   Sharkey v. J.P. Morgan Chase, 2015 WL 5920019 (S.D.N.Y.

Oct. 9, 2015).    The Second Circuit then vacated and remanded

that finding, holding that the temporal proximity between the

protected activity and her discharge was sufficient to establish

a prima facie case.    Sharkey v. JP Morgan Chase, 660 F. App’x 65

(2d Cir. 2016).   The Second Circuit also declined to affirm on

the basis of the defendants’ alternative ground, that Sharkey

lacked a reasonable belief for her reports of fraud, holding

that the issue gave rise to disputes of fact, and did not compel

the conclusion that Sharkey lacked a reasonable belief of fraud.


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Id.

      After further proceedings before Judge Sweet, including

rulings on motions in limine on January 26, 2017, the case was

reassigned to this Court on April 20, 2017.         This Court then

held conferences on May 5 and July 31, 2017, to determine if any

of Judge Sweet’s rulings merited reconsideration.          At the July

31 conference, the Court declined to change any of Judge Sweet’s

rulings on the motions in limine.       The case was tried over five

days between October 30 and November 6, 2017.

      At the end of the plaintiff’s testimony, defendants made an

oral motion for a directed verdict as a matter of law on all

issues of liability.     The Court reserved decision.       After the

conclusion of the evidence, on November 4, 2017, the defendants

again made a motion for judgment as a matter of law.          Both the

defendants and the plaintiff submitted briefs on the motion.            On

November 6, the case was submitted to the jury, and on November

7, the jury returned a verdict.

      The jury found that Sharkey had not proven her case as to

two of the defendants, Joe Kenney and Adam Green.1         As to

defendants Leslie Lassiter and J.P. Morgan, the jury found that

Sharkey had proven her claim of retaliation, and that Lassiter

1 At trial, Sharkey presented virtually no evidence that Green or
Kenney were aware of any protected activity by Sharkey, much
less that any protected activity was the cause of any decision
they made to terminate her employment.
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and J.P. Morgan had failed to prove their affirmative defense.

As to damages, the jury found that the defendants had not shown

that Sharkey failed to mitigate her damages and that she was

entitled to $563,000 in back pay.      The jury also found that

Sharkey was entitled to emotional distress damages, and awarded

her the identical amount of damages for her emotional distress,

$563,000.

    The defendants then renewed their motions as to J.P. Morgan

and Lassiter, and added a request in the alternative for a new

trial.   The Court also made post-verdict comments on the record

generally indicating the Court’s inclination as to the post-

verdict motions.   The motions became fully submitted on December

20, 2017.

                            TRIAL EVIDENCE

    The undisputed and/or overwhelming weight of the trial

evidence established the following.      Sharkey had worked in the

banking industry for approximate 12 years before joining J.P.

Morgan in November 2006 as a private banker.        In 2008, J.P.

Morgan restructured certain of its services for its high-net-

worth clients.   The restructuring placed one person in charge of

each client relationship, a person which J.P. Morgan called a

“Private Wealth Manager.”     The wealth manager effectively served

as the face of the bank, and was the primary point of contact


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for the client for all issues related to the banking

relationship.   The position therefore required that individual

to be familiar with each aspect of the bank’s offerings to

effectively serve their clients.       As part of the restructuring,

J.P. Morgan brought in Leslie Lassiter to run its New-York-City-

based operations.

     When Lassiter arrived in New York City, she had to staff

the new wealth manager positions.      Lassiter had never worked

with Sharkey and did not know her, but she did interview Sharkey

and, based on Sharkey’s background and previous work, gave her

an opportunity to become a private wealth manager.         This was a

promotion for Sharkey, and required Sharkey to become familiar

with banking services Sharkey had never handled before.          Sharkey

began her work as a private wealth manager in August or

September of 2008.

     Sharkey had some difficulties learning and performing her

new job.   She failed the Series 7 securities examination twice.2

She was consistently tardy in conducting the due diligence

associated with the bank’s Know Your Client (“KYC”) obligations.

In conversations with Sharkey regarding her performance in April

and May 2009, Lassiter highlighted the deficiencies in Sharkey’s



2 Sharkey excused one of her failures, claiming that she had to
leave the exam early to respond to a call from Lassiter.

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performance, including poor performance with investments and

failure to complete KYCs in a timely manner.        After a J.P.

Morgan biannual regional talent review meeting in June 2009, and

a national talent review in mid-July 2009, Sharkey’s employment

would have been near-termination but for Lassiter’s strong

support of Sharkey.    Then, on July 21, Lassiter learned from

Sharkey’s largest client -- who was referred to at trial as

Client H -- that Sharkey had lied to Lassiter about returning

the client’s calls.3   The client’s representative called Sharkey

a “phantom.”   That day, Lassiter told Green about the incident.

Green then wrote to Kenney to inform him that there was an

incident, and that the incident was viewed as a dischargeable

offense.   After consulting with her superiors and human

resources, Lassiter terminated Sharkey’s employment.         Sharkey’s

employment ended on August 5, 2009.      In her exit interview with

Steve Grande of the Human Resources department, Sharkey made no

reference whatsoever to a claim of retaliation.        By contrast,

Grande informed her, as Sharkey admitted she was so informed by

both Lassiter and Grande, that she was discharged because of a

significant lapse in judgment regarding Client H.

3  In the Fall of 2009, Lassiter learned that Sharkey had lied to
her about contacting yet another client. The bank sought to
admit this after-acquired evidence to establish that Sharkey
would have in any event been fired by the Fall of 2009. The
evidence was excluded for the defendants’ failure to give timely
notice of this defense.
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      Against the powerful documentary and testimonial evidence

which showed that Sharkey was not performing her job adequately

and that her employment was terminated because she lied to the

very supervisor who had recently promoted and defended her,

Sharkey offered a counter-narrative.       Sharkey contended that her

employment was terminated because of retaliation when she

expressed concerns about a bank client known at trial as Client

A.4

      At trial, there was absolutely no evidence that Client A

was engaged in any illegal activity and insufficient evidence to

permit anyone to form a reasonable belief that he was.          Instead,

the primary issue was whether Client A was appropriately

responsive to requests made of him in the course of the KYC

inquiry.   The bank’s risk compliance department had, in March

2009, compiled a list of items that needed to be gathered from

Client A as part of the bank’s KYC protocol.

4 Because of the nature of the concerns raised regarding Client
A, and because his testimony would have been largely irrelevant
to the issues in the case, his testimony was excluded and he was
referred to pseudonymously. The trial of this action confirmed
that anything Client A would have testified to would be largely
irrelevant, and certainly outweighed by the prejudice, burden
and distraction of requiring him to testify. During the course
of the trial, Client A’s name was inadvertently mentioned in
open court, and the name of his business was reported in the
press. Because Client A has already been effectively identified
to the public, the parties and Client A will be given an
opportunity to be heard on whether the redaction of his name
should continue at the re-trial of this action.

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    Client A was assigned to Sharkey in early April 2009.

Sharkey and others at the bank called Client A shortly

thereafter to obtain the items identified by the risk

department.   The memorandum from this call recorded that Client

A had good explanations for nearly all of the concerns raised in

the risk department’s memorandum.      The next day, Sharkey sent an

e-mail to Client A, telling him that the information he provided

on the call was very helpful, and formally requesting the

documentation they discussed.     Within 8 days, Client A provided

the documents that responded to all but three of the requests.

Client A had explained in the telephone call and his responses

that one of those three items was actually in the possession of

Client A’s law firm, and the two remaining items were an ID card

and a document related to one of Client A’s entities.         There is

no document or email reflecting that Sharkey or anyone working

with Sharkey ever followed up with either Client A or his

attorneys regarding the three items.      While Sharkey testified

that she and a colleague attempted to call the law firm multiple

times, she never testified that they tried to reach Client A to

obtain the two missing items in his possession.        After Sharkey

was fired, her successor obtained the outstanding items with

little trouble.

    At various points throughout the summer, Sharkey orally


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recommended to Lassiter that Client A no longer be treated as a

private wealth management client.        Lassiter pressed Sharkey to

explain why she was making this recommendation, and to put it in

writing.    Sharkey finally put her recommendation in writing in a

July 24, 2009 e-mail.      The key paragraphs in the e-mail read as

follows:

            As you are aware, all of the information that
         we have accumulated during the KYC remediation
         process feels uncomfortable regarding the
         [A/Client A] family relationship and the nature
         of its businesses as well as its related entities
         . . . . After many conversations with the
         client(s) and attempts to acquire the proper
         documentation, we still have not received all
         documentation and Identification [sic] needed to
         satisfy our standard Know Your Client
         requirements.

            Since this is a complicated and long-term
         relationship that we inherited, I recommend that
         we discuss a simple way to detach the
         relationship from the PWM metro business. I want
         to be mindful of the fact that other LOB’s5 within
         the firm have relationships with this client
         and/or its related entities and may wish to
         retain some or all of their business.

(Emphasis supplied.)

       Notably, in this document, Sharkey expressed discomfort

primarily because she had been unable to complete all the

outstanding KYC issues with Client A.         Sharkey does not accuse

Client A of engaging in illegality or recommend that the bank as

a whole cease doing business with Client A.

5   “LOB’s” is an acronym for “Lines of Business.”
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    Nonetheless, after receiving this memorandum, Lassiter

began the process of terminating the entirety of the bank’s

relationship with Client A.     Lassiter believed that if, as

Sharkey represented, Client A was not being forthcoming in the

KYC process, Client A should not be a customer of the bank, in

any capacity.   It was only later, after Sharkey’s employment had

been terminated, when the bank obtained the missing three items,

and met with Client A in-person, that the bank reversed course

and retained the relationship.

    Sharkey’s retaliation claim rested on her testimony that

she believed and orally expressed to Lassiter that Client A may

be engaged in illegal activity.      But Sharkey’s testimony was

filled with contradictions and far from credible on this issue.

For instance, at one point she testified that she expressed her

concerns to Lassiter that Client A was engaged in violations of

each of the enumerated statutes of SOX by actually naming each

of those statutes in her conversation with Lassiter.          That

testimony was effectively undermined by defense counsel’s

examination of Sharkey.

    In addition, Sharkey did not identify new concerns about

Client A that she uncovered as a result of the KYC process.             The

concerns she listed to the jury were essentially the items that

other bankers at J.P. Morgan had identified for Sharkey to


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investigate as part of the KYC process.

    In sum, not one document and no credible evidence linked

Sharkey’s firing to any report she voiced about Client A.

Instead, the documents and credible testimony showed that (1)

Sharkey was fired for her performance, capped by her lies

regarding Client H, (2) Sharkey never told Lassiter that she

believed that Client A was engaged in fraud or that the bank

should terminate its relationship with him, and (3) it was

Lassiter who decided to exit the Client A relationship and that

Lassiter’s recommendation was accepted by Lassiter’s superiors.

Once a full investigation of the relationship was conducted,

J.P. Morgan concluded that Client A was not committing any

wrongdoing and kept the relationship.

    The overwhelming evidence is also against the award of back

pay in an amount of $563,000.         At most, any award of back pay

would reflect a payment through March 2010, which was roughly

eight months after Sharkey’s employment was terminated.             Such a

payment would have been a fraction of the amount awarded by the

jury.     The evidence at trial established that Sharkey stopped

looking for new employment in March 2010.           Indeed, the evidence

strongly suggests that Sharkey never engaged in a serious job

search after J.P. Morgan fired her.          Since late 2009, Sharkey

had worked without salary for, and held herself out as the


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President of, Mint Cars on Demand, a business run by her then-

fiancée, now husband.    Then, after a family tragedy in early

2010, she also began assisting her father in his business

without compensation.    It was undisputed at trial that Sharkey

left the work force altogether in 2012.

     While Sharkey kept a notebook recording her attempts to

find other employment, the last entry in that notebook was from

March 2010.   The only documentary evidence touching on any job

search after that time consists of an abbreviated e-mail chain

from October 2010, in which a recruiter concludes that Sharkey

is not interested in talking to him.6

     Sharkey testified that she went about looking for work by

“[c]ontacting my friends in the industry and old employers and

recruiters and constantly asking was there anything that I could

do knowing that the lawsuit is out there and everybody has read

about it, because it was in the press.”7       But she did not testify

to an active job search, such as applying for jobs, making

appointments with recruiters, or other similar activities after

March 2010.

6 Understandably, plaintiff’s counsel made no mention of this
document in his summation.

7 The testimony regarding the presence of the lawsuit was
initially admitted under a limiting instruction preventing it
from being used for the truth of the statement. Later in the
trial, the ruling was reconsidered, and this portion of the
testimony was stricken in its entirety.
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    Similarly, the jury award of an equal amount of $563,000 in

emotional distress damages is without any basis in the record.

Sharkey’s evidence on her damages for her emotional distress

consisted of approximately two transcript pages of her own

testimony.   That testimony, in its entirety, reads as follows:

       Q. Ms. Sharkey, have you suffered emotionally as
       a result of your termination?

       MR. SCHISSEL: Objection.

       THE COURT: Overruled.

       A. Definitely.

       Q. Can you describe to the jury how that is.

       A. I think anyone could understand. You're losing
       your job, being terminated for something you
       thought you were doing well. I had been in the
       field for 15 years. I had never had a situation
       at work with any supervisor. It's just very
       distressing, upsetting. You feel like your whole
       life is taken away from you.

       It was a career. It wasn't just a job for me. I
       had worked my way up from being an administrative
       assistant in the bank to being a VP at City [sic]
       and then moving on to two other organizations.
       Just feeling that it was all taken away from me
       just like that.

       Q. Did you have any physical symptoms that you
       believe were attributed to the termination?

       MR. SCHISSEL: Objection.

       THE COURT: Overruled.

       A. I had extreme anxiety and I was not sleeping
       whatsoever.


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       Q. At any point in time did you take any
       medication to help cope with that?

       A. Yes.

       Q. What was that and when?

       A. What medications?

       Q. Yes.

       A. Xanax and sleeping medications.

       Q. In what period of time?

       A. In '09 probably through 2010. Through 2010.

No corroborative evidence, medical testimony, or other documents

were presented.     There was testimony, however, that Sharkey

suffered a family tragedy in early February 2010 that could have

independently caused or exacerbated these reported symptoms from

that day forward.

                               DISCUSSION

    The standard for granting judgment as a matter of law under

Rule 50, Fed. R. Civ. P. is well-established.        “Judgment as a

matter of law may not properly be granted under Rule 50 unless

the evidence, viewed in the light most favorable to the opposing

party, is insufficient to permit a reasonable juror to find in

h[er] favor.”    Stevens v. Rite Aid Corp., 851 F.3d 224, 228 (2d

Cir. 2017) (citation omitted).      This standard “mirrors the

standard for” summary judgment under Rule 56, Fed. R. Civ. P,

except based on the trial record rather than the summary

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judgment record.    Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

250 (1986); see Piesco v. Koch, 12 F.3d 332, 341 (2d Cir. 1993).

    The standard for granting Rule 59 relief, Fed. R. Civ. P.,

by contrast, grants far more discretion to the trial judge.             “It

is the judge’s right, and indeed duty, to order a new trial if

it is deemed in the interest of justice to do so.”         Charles Alan

Wright and Arthur R. Miller, Fed. Prac. & Proc. § 2803 (3d ed.

2017).   Among the grounds on which a new trial may be granted is

if the verdict is against the weight of the evidence.          “A

decision is against the weight of the evidence if and only if

the verdict is (1) seriously erroneous or (2) a miscarriage of

justice.”   Raedle v. Credit Agricole Indosuez, 670 F.3d 411,

417-18 (2d Cir. 2012) (citation omitted); see also DLC Mgmt.

Corp. v. Town of Hyde Park, 163 F.3d 124, 134 (2d Cir. 1998) (“A

court considering a Rule 59 motion for a new trial . . . should

only grant such a motion when the jury’s verdict is egregious.”

(citation omitted)).

    In evaluating a Rule 59 motion, “the trial judge may weigh

the evidence and the credibility of witnesses and need not view

the evidence in the light most favorable to the verdict winner.”

Raedle, 670 F.3d at 418.     “Where the resolution of the issues

depended on assessment of the credibility of the witnesses, it

is proper for the court to refrain from setting aside the


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verdict.”   Metromedia Co. v. Fugazy, 983 F.2d 350, 363 (2d Cir.

1992).

    A special case of the general power to order relief under

Rule 59 arises in the context of excessive verdicts.          A trial

judge has “‘discretion to grant a new trial if the verdict

appears to the judge to be against the weight of the evidence .

. . includ[ing] overturning verdicts for excessiveness and

ordering a new trial without qualification, or conditioned on

the verdict winner’s refusal to agree to a reduction

(remittitur).’”   Kirsch v. Fleet Street, Ltd., 148 F.3d 149, 165

(2d Cir. 1998) (quoting Gasperini v. Center for Humanities,

Inc., 518 U.S. 415, 433 (1996)).        The “calculation of damages is

the province of the jury,” and a court may “not vacate or reduce

a jury award merely because [it] would have granted a lesser

amount of damages.”    Turley v. ISG Lackawanna, Inc., 774 F.3d

140, 162 (2d Cir. 2014) (citation omitted).        Review of a jury’s

verdict consists of determining “whether the award is so high as

to shock the judicial conscience and constitute a denial of

justice.”   DiSorbo v. Hoy, 343 F.3d 172, 183 (2d Cir. 2003)

(citation omitted).

         But, when juries grant large compensatory awards
         for intangible and unquantifiable injuries, such
         as emotional distress, pain, and suffering, we
         are required to subject the trial court’s
         discretion to substantial constraints. Awards
         for mental and emotional distress are inherently

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       speculative. There is no objective way to assign
       any particular dollar value to distress.
       Nonetheless, as we explained in discussing a
       claim of excessive punitive damages . . . a legal
       system has an obligation to ensure that such
       awards for intangibles be fair, reasonable,
       predictable, and proportionate.

       We must ensure proportionality, to control for
       the inherent randomness of jury decisions
       concerning appropriate compensation for
       intangible harm, and to reduce the burdensome
       costs on society of over-extensive damages
       awards. Stampf v. Long Island R.R. Co., 761 F.3d
       192, 205 (2d Cir. 2014) (noting that, if
       appellate courts regularly affirm large damages
       awards in the name of deference to the jury, the
       “baseline of reasonableness will be constantly
       forced upward”).

Turley, 774 F.3d at 162 (citation omitted).        Determination of

what is fair, reasonable, predictable, and proportionate can

rely upon a survey of damages awards in comparable cases.

Stampf, 761 F.3d at 207.

    If a damages verdict is deemed excessive, the Court must

determine whether the excessive amount is subject to remittitur,

or whether a new trial must be granted without remittitur.              “A

remittitur should be granted only where the trial has been free

of prejudicial error.”     Ramirez v. New York City Off-Track

Betting Corp., 112 F.3d 38, 40 (2d Cir. 1997).         “[T]he size of a

jury’s verdict may be so excessive as to be ‘inherently

indicative of passion or prejudice’ and to require a new trial,”

without remittitur.    Id. (citing Auster Oil & Gas, Inc. v.


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Stream, 835 F.2d 597, 603 (5th Cir. 1988)).           “Influences such as

caprice, passion, bias, and prejudice are antithetical to the

rule of law.      If there is a fixture of due process, it is that a

verdict based on such influences cannot stand.”            TXO Production

Corp. v. Alliance Resources Corp., 509 U.S. 443, 475-76 (1993)

(O’Connor, J., dissenting) (collecting cases).            Prejudice may be

found to exist where the appropriate amount of the remittitur

“is totally out of proportion to the damages” awarded by the

jury.     Ramirez, 112 F.3d at 41.

    Calculation of the appropriate amount of a remittitur

requires a judicial determination of the maximum amount of

damages that the record can support.          Earl v. Bouchard Transp.

Co., 917 F.2d 1320, 1330 (2d Cir. 1990).           Such amounts are

frequently determined with reference to other verdicts and the

experience of the Court.        If, with the damages amount remitted,

the verdict can be sustained, then a new trial motion may be

denied conditioned on the plaintiff’s acceptance of the

remittitur.

    Once a court makes a decision requiring a new trial on at

least some issue in the case, the court must then determine

whether a partial new trial is appropriate, or whether the whole

case must be re-tried.        In the event the jury’s verdict was the

result of passion or prejudice, the whole matter must be re-


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tried, as the prejudice that infected one aspect of the verdict

may have affected the remainder of the verdict as well.          See

generally Wagenmann v. Adams, 829 F.2d 196, 216-17 (1st Cir.

1987).   If the jury’s verdict, although unsupportable in some

aspects, was not incurably biased, the issue becomes whether the

issues to be retried are separable.        See generally Wright &

Miller § 2814.   For example, sometimes the amount of damages can

be determined independently from the presentation of the

evidence giving rise to liability.        See Mertens v. Flying Tiger

Line, Inc., 341 F.2d 851, 857-58 (2d Cir. 1965).         In such a

case, a retrial limited to damages is appropriate.         But, when

the issues are inextricably intertwined, such that a proper

determination of the amount of damages requires an evaluation of

the same evidence that gave rise to liability, any retrial must

be on all issues.    See Caskey v. Village of Wayland, 375 F.2d

1004, 1009-1010 (2d Cir. 1967) (“Partial new trials should not

be resorted to ‘unless it clearly appears that the issue to be

retried is so distinct and separable from the others that a

trial of it alone may be had without injustice.’” (quoting

Gasoline Products Co. v. Champlin Refining Co., 283 U.S. 494,

500 (1931)).

    Sharkey’s claim arises under 18 U.S.C. § 1514A, a portion

of the much broader SOX statute.        Section 1514A was passed in


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2002, in the wake of financial crises, to help protect

whistleblowers working at covered financial institutions from

retaliation.   “To accomplish this goal, § 1514A protects

employees when they take lawful acts to disclose information or

otherwise assist in detecting and stopping actions which they

reasonably believe to be fraudulent.”       Bechtel, 710 F.3d at 446

(citation omitted).

       “To prevail under § 1514A, an employee must prove
       by a preponderance of the evidence that (1) she
       engaged in protected activity, (2) the employer
       knew that she engaged in the protected activity,
       (3) she suffered an unfavorable personnel action,
       and (4) the protected activity was a contributing
       factor in the unfavorable action.”

Id. at 447 (citation omitted).       Protected activity

occurs when an employee:

       provides information, causes information to be
       provided, or otherwise assists in an
       investigation regarding any conduct with the
       employee reasonably believes constitutes a
       violation of section 1341 [mail fraud], 1343
       [wire fraud], 1344 [bank fraud], or 1348
       [securities fraud], any rule or regulation of the
       Securities and Exchange Commission, or any
       provision of Federal law relating to fraud
       against shareholders.

Nielsen, 762 F.3d at 219 (2d Cir. 2014) (alterations in

original) (citation omitted).      “A reasonable belief contains

both subjective and objective components.”        Id. at 221.

       [T]he plaintiff must have a subjective belief
       that the challenged conduct violates a provision
       listed in § 1514A, and . . . this belief must be

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        objectively reasonable. . . . The objective
        component of the reasonable belief standard
        should be evaluated based on the knowledge
        available to a reasonable person in the same
        factual circumstances with the same training and
        experience as the aggrieved employee.

Id.   (citation omitted).     Put another way, “[t]he objective

prong of the reasonable belief test focuses on the ‘basis of

knowledge available to a reasonable person in the circumstances

with the employee’s training and experience.’”          Id. (quoting

Sharkey v. J.P. Morgan Chase & Co., 805 F. Supp. 2d 45, 55

(S.D.N.Y. 2011)); cf. Federal Housing Finance Agency v. Nomura

Holding Am., Inc., 873 F.3d 85, 119 (2d Cir. 2017) (“A plaintiff

is charged with knowledge of any fact that ‘a reasonably

diligent plaintiff would have discovered.’” (quoting Merck &

Co., Inc. v. Reynolds, 559 U.S. 633, 653 (2010))).          The

reasonable belief inquiry is context-dependent: for example, a

low-level employee of a covered institution may have no

authority to investigate potentially fraudulent activity, and

therefore a report of potentially fraudulent activity may be

reasonable for such an employee even if it would not be for an

employee with more ability and/or the duty to investigate.               Cf.

id. at 130 (citing In re WorldCom Sec. Litig., 346 F. Supp. 2d

628, 663 (S.D.N.Y. 2004)) (noting context-dependent nature of

inquiry).

      Under SOX, an employer may assert as an affirmative defense

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that it would have taken the same unfavorable personnel action

in the absence of the protected activity.          Bechtel, 710 F.3d at

446.    The employer has the burden of proving this affirmative

defense by clear and convincing evidence.          Id.

       If an employee succeeds in proving their case, and the

affirmative defense is not proven, the employee is entitled to

“all relief necessary to make the employee whole.”           18 U.S.C.

§ 1514A(c)(1).     Such relief “shall include” reinstatement, the

amount of back pay, with interest, and compensation for any

special damages, such as litigation costs, expert witness fees,

and reasonable attorneys’ fees.        Id. at § 1514A(c)(2).

       Know Your Customer (“KYC”) procedures are procedures

employed by banks to ensure that their clients are not engaging

in illegal or otherwise problematic activities through their

banking relationships.       KYC procedures are intended to comply

with various federal laws, such as the Bank Secrecy Act and the

USA Patriot Act, and guidelines associated with those laws.

Thus, 31 U.S.C. § 5318 provides that,

         [i]n order to guard against money laundering
         through financial institutions, each financial
         institution shall establish anti-money laundering
         programs, including, at a minimum--
         (A) the development of internal policies,
         procedures, and controls;
         (B) the designation of a compliance officer;
         (C) an ongoing employee training program; and
         (D) an independent audit function to test
         programs.

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31 U.S.C. § 5318(h)(1).

       Where the customer is not a United States person, the

Patriot Act requires that

         [e]ach financial institution that establishes,
         maintains, administers, or manages a private
         banking account . . . in the United States for a
         non-United States person . . . shall establish
         appropriate, specific, and where necessary,
         enhanced due diligence policies, procedures, and
         controls that are reasonably designed to detect
         and report instances of money laundering through
         those accounts.

31 U.S.C. § 5318(i)(1) (emphasis supplied).          These procedures

must

         ascertain the identity of the nominal and
         beneficial owners of, and the source of funds
         deposited into, such account as needed to guard
         against money laundering and report any
         suspicious transactions . . . and conduct
         enhanced scrutiny of any such account that is
         requested or maintained by, or on behalf of, a
         senior foreign political figure, or any immediate
         family member or close associate of a senior
         foreign political figure, that is reasonably
         designed to detect and report transactions that
         may involve the proceeds of foreign corruption.

31 U.S.C. § 5318(i)(3).

       Other provisions of the Bank Secrecy Act and its

implementing regulations also require banks to have procedures

in place to identify potentially suspicious transactions.            See

generally 31 U.S.C. § 5318(g)(1); 31 C.F.R. §§ 1020.210,

1010.610, 1010.620.      The specific implementations of these


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statutes and regulations, however, are left up to each

individual bank, subject to audit and oversight by the bank’s

regulator, such as the Office of the Comptroller of the

Currency.

    I.      Liability

    Defendants have moved for judgment as a matter of law on

liability under Rule 50, Fed. R. Civ. P., on the grounds that

Sharkey did not engage in protected activity, that her belief

that Client A was committing any sort of fraud was neither

objectively nor subjectively reasonable, that there was no

evidence that defendants knew about Sharkey’s protected

activity, and that there was no evidence from which a reasonable

jury could conclude that any protected activity contributed to

her termination.

    The questions raised by defendants are close ones.           Many of

the defendants’ criticisms of the jury’s verdict have merit, as

already indicated.      It was Sharkey’s duty to perform the KYC

process for Client A.     Merely regurgitating questions -–

identified by others in the bank -- that required investigation

falls short of protected activity.       The single document authored

by Sharkey to express her concerns -- the July 24 e-mail --

seriously undermines her claim.      It neither mentions fraud nor

other criminal activity, and does not recommend that J.P. Morgan


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terminate its banking relationship with the client.

    Moreover, Sharkey’s testimony that she voiced her concerns

about fraud, even if credited, must still be compared against

the “basis of knowledge available to a reasonable person” in her

circumstances.   Nielsen, 762 F.3d at 211.       Had Sharkey done the

KYC investigation she was charged with performing, as the bank

later did, she would have developed information that dispelled

any reasonable concerns that Client A was engaged in fraudulent

or criminal activity.    Because an objectively reasonable

investigation would have developed this information, the strong

weight of the evidence is against a finding that Sharkey had an

objectively reasonable belief that Client A was committing

fraud.

    Defendants also presented powerful evidence to show that

the bank had decided to fire Sharkey three days before she wrote

the July 24 e-mail.    Lassiter’s superiors considered Manager T’s

complaint that Sharkey was a “phantom” and Sharkey’s lies to

Lassiter about her responsiveness to Manager T a firing offense.

    Nonetheless, taken in the light most favorable to Sharkey,

the evidence is sufficient, albeit barely so, to support the

jury’s verdict as to liability.      Although belied by the

documentary record, Sharkey testified that she in fact did

report to Lassiter that she believed that Client A was engaged


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in activity that would violate the statutes enumerated in

Sarbanes-Oxley.     Lassiter was subject to a lengthy examination

by plaintiff’s counsel focusing repeatedly and in exquisite

detail on inaccuracies or inconsistencies in Lassiter’s prior

statements.   While those matters may have been considered

trivial, a jury was also entitled to find that were sufficiently

serious to undermine Lassiter’s credibility when she described

her interactions with Sharkey.      Nor have defendants sustained

their extremely heavy burden to prove that, as a matter of law,

a reasonable jury must have found, by clear and convincing

evidence, that they would have discharged Sharkey in the absence

of her protected activity.     The defendants’ renewed Rule 50

motion for judgment as a matter of law as to liability must be

denied.

    II.   Damages

          A. Back Pay

    Defendants contend that as a matter of law, Sharkey’s

damages award for back pay is unsupportable because she failed

to mitigate her damages after March 2010.        The jury found that

Sharkey had never failed to mitigate her damages, and was

entitled to $563,000 in back pay damages.

    Employees discharged in violation of Sarbanes-Oxley have a

duty to mitigate their damages.      Although this duty is not meant


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to be “onerous,” it still requires the employee to act with a

“reasonable diligence” to obtain comparable employment.          Dailey

v. Societe Generale, 108 F.3d 451, 456 (2d Cir. 1998) (citation

omitted).   An employer who has acted wrongfully in discharging

an employee does not thereby become obligated to continue paying

that employee if that employee subsequently fails to take

reasonable efforts to secure alternate employment.         Broadnax v.

City of New Haven, 415 F.3d 265, 268-69 (2d Cir. 2005).          Two

alternative paths exist for employers to prove failure to

mitigate.   Under Dailey, an employer may prove that an employee

failed to mitigate by “establishing (1) that suitable work

existed, and (2) that the employee did not make reasonable

efforts to obtain it.”     108 F.3d at 456.     An exception to this

rule applies, however, when an employer can “prove that the

employee made no reasonable efforts to seek [suitable]

employment.”   Greenway v. Buffalo Hilton Hotel, 143 F.3d 47, 54

(2d Cir. 1998).

    The burden of proving a defense of failure to mitigate

rests, on either theory, squarely on the defendant.         Broadnax,

415 F.3d at 269.    Accordingly, in the context of a motion for

judgment as a matter of law, an employer must show that no

reasonable juror could have failed to find in their favor on the

defense.


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    The defendants did not attempt to show that comparable work

was available to Sharkey, and relied entirely on their

contention that Sharkey failed to make any reasonable efforts to

seek suitable employment.     The testimony and documentary record

permitted a jury to find that Sharkey did make some effort to

seek alternative employment through March 2010.         Although the

evidence tended to show that these efforts were less than

fulsome -- one document and Sharkey’s own testimony showed that

in October 2009, Sharkey told a recruiter she had accepted

another offer when in fact she had not -- it cannot be said as a

matter of law that any reasonable juror had to have found that

Sharkey failed to make any reasonable effort to seek alternative

employment during this eight-month period.

    After March 2010, however, the evidence compels the

conclusion as a matter of law that Sharkey ceased making any

reasonable efforts to seek alternative employment.         As Judge

Sweet ruled on defendants’ first motion in limine:

       [Sharkey’s] claims for back pay will end at the
       date at which the jury determines she stopped
       actively applying for jobs and seeking
       employment. Merely maintaining contact with
       industry professionals will not suffice, and
       hearsay evidence regarding her search for
       employment offered for the truth of out of court
       statements will not be permitted. At that date,
       back pay will cease because Sharkey made no
       reasonable efforts to seek such employment when
       she was still capable of employment and failed to
       mitigate her damages.

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(citation omitted).    That ruling was entirely correct.        The

trial evidence confirmed that after March 2010, Sharkey ceased

applying for jobs, and her testimony showed that she “merely

maintain[ed] contact with industry professionals,” rather than

actively engaged in a real job search.       And her attempt to offer

hearsay out-of-court statements regarding the pending lawsuit to

justify her lack of effort cannot do so unless these statements

are credited for their truth, which they cannot be.8

     The one document to which Sharkey points in opposition to

this motion to support the existence of a search for employment

after March 2010 does not in fact support her position.          That

document, Plaintiff’s Exhibit 226, does not show a reasonable

effort to connect with the recruiter; it shows precisely the

opposite, to wit, that plaintiff rebuffed the recruiter.

     Plaintiff’s own testimony does not suffice, because the

content of that testimony merely establishes that she maintained

contact with professionals, rather than actually applying for a

job or otherwise making active efforts in a job search.          And in

2012, it is beyond dispute she left the work force altogether



8 In any event, because the reasonableness of efforts are
governed by an objective, and not a subjective standard, as a
matter of law, a reasonable person would not cease making
essentially any effort to find suitable employment in light of a
few statements made by others.

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and was no longer assisting even her husband or father.

Accordingly, judgment will be entered for the defendants to the

extent of holding that Sharkey failed to mitigate her damages

after April 1, 2010.    As a matter of law, Sharkey is eligible to

receive back pay only through March 2010.        Pursuant to Rule

50(c)(1), Fed. R. Civ. P., the defendants’ motion for a new

trial is conditionally granted to the extent of requiring a new

trial on back pay damages for the period after April 1, 2010.

          B. Emotional Distress

    Defendants challenge the award of $563,000 in emotional

distress damages as unwarranted by the evidence, and request a

new trial, or in the alternative, remittitur.        Damages available

under 18 U.S.C. § 1514A include all relief necessary to make the

plaintiff whole.    If a plaintiff has suffered emotional distress

as a result of being retaliated against in violation of

Sarbanes-Oxley, damages for that emotional distress are

recoverable.

    Nonetheless, emotional distress damages, because of their

inherent malleability, are substantially limited in amount

unless the plaintiff presents objective evidence.         Annis v. Cty.

of Westchester, 136 F.3d 239, 249 (2d Cir. 1998).         In Annis,

addressing a claim for emotional distress damages under 42

U.S.C. § 1983, the Second Circuit held that damages for


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emotional distress were unavailable absent physical

manifestations of that distress, or corroborating testimony or

independent medical evidence.      Id.   Reaffirming Annis, the

Second Circuit has stated that:

       [a] plaintiff’s subjective testimony, standing
       alone, is generally insufficient to sustain an
       award of emotional distress damages. Rather, the
       plaintiff’s testimony of emotional injury must be
       substantiated by other evidence that such an
       injury occurred, such as the testimony of
       witnesses to the plaintiff’s distress, or the
       objective circumstances of the violation itself.
       Evidence that a plaintiff has sought medical
       treatment for the emotional injury, while
       helpful, is not required.

Patrolmen’s Benevolent Ass’n of City of New York v. City of New

York, 310 F.3d 43, 55 (2d Cir. 2002) (citation omitted).

    If Sharkey is entitled to recover emotional distress

damages at all, she at most would be entitled to a garden-

variety award to reflect the emotional distress that typically

accompanies a wrongful firing.      The evidence of her emotional

distress was limited to her own testimony, which was brief and

largely conclusory.

    After surveying other verdicts and taking into account the

objective circumstances of her termination and Sharkey’s

testimony, the Court concludes that a damages award in the range

of $20,000 to $50,000 would be the maximum award sustainable on

this record.   See generally Dotson v. City of Syracuse, 2011 WL


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817499, at *16-21 (N.D.N.Y. Mar. 2, 2011) (collecting cases);

see also Legg v. Ulster Cty., 2017 WL 3668777, at *11-12

(N.D.N.Y. Aug. 24, 2017) (collecting cases).

    The particular amount chosen for the emotional distress

damages award indicates that the jury did not follow its

instructions.    An award of $563,000 cannot be sustained because

it is far in excess of what a reasonable jury could have

awarded.   But, as significantly, the particular choice of amount

-- an amount equal to that it awarded back pay -- indicates that

the jury acted out of passion in favor of Sharkey, or prejudice

against J.P. Morgan, and not on the basis of the trial evidence

and the law provided in the jury charge.

    C. Remittitur or New Trial

    As just described, the jury’s verdict is vastly out of

proportion to the maximum supportable damages award.          The

excessiveness of these awards reflects a jury motivated by

passion or prejudice, or both.      As a consequence, there can be

no confidence in the integrity of the jury’s verdict on

liability.    Moreover, because the issue of emotional distress

damages must be re-tried in any event, there is no way to fairly

try the issue of the emotional harm that Sharkey suffered

divorced from the issue of whether she was wrongfully

discharged.    Emotional distress damages necessarily include


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consideration of the objective circumstances of the legal

violation that created the emotional injury.           See Patrolmen’s

Benevolent Ass’n, 310 F.3d at 55.          Accordingly, the new trial as

to Lassiter and J.P. Morgan must be on all issues, and an offer

of remittitur is inappropriate.

    III. Reinstatement

    The final issue is whether Jennifer Sharkey is entitled to

reinstatement in her position.         SOX provides that relief for a

victorious employee “shall include . . . reinstatement with the

same seniority status that the employee would have had, but for

the discrimination.”       18 U.S.C. § 1514A (c)(2).       While that

relief is available, it is not automatic.           At trial, the Court

ruled that the issue would be decided by the Court, and not the

jury.

    Jennifer Sharkey stopped making reasonable efforts to

secure employment in early 2010, and removed herself from the

workforce altogether in 2012.         That decision on her part ended

the defendants’ obligation to reinstate her.           For, even if she

is entitled to reinstatement at the same seniority and benefit

status she would have had but for the discrimination, when she

left the workforce she abandoned her claim for reinstatement.

    Reinstatement must also be denied for an independent

reason.     Reinstatement, even when authorized as a remedy, is


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inappropriate here as an equitable matter.           See Kirsch v. Fleet

Street, Ltd., 148 F.3d 149, 168-69 (2d Cir. 1998); Padilla v.

Metro-North Commuter R.R., 92 F.3d 117, 125-26 (2d Cir. 1996).

Sharkey struggled to perform her work as a private wealth

manager.     She lied to her superior about being in touch with the

clients the bank assigned to her.          Whether or not the jury was

allowed to hear the full extent of Sharkey’s malfeasance, that

malfeasance forfeited Sharkey’s right to reinstatement.

       Finally, and again for an entirely independent reason,

reinstatement in this case is impractical if not impossible.

Through this hard fought litigation, Sharkey has impugned the

bank, and the bank has called her character for truthfulness and

reliability as an employee into serious question.            It would

simply place both Sharkey and J.P. Morgan into a completely

untenable position to order her reinstatement.

       Normally, in the event that reinstatement is unavailable,

the alternative remedy is front pay.          As Judge Sweet held,

however, because Sharkey removed herself from the workforce,

front pay is also unavailable.         This Court had declined to

revisit that decision before the trial, and declines to do so

now.     Accordingly, reinstatement will not be awarded in this

case.




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                                  CONCLUSION

    The defendants’ renewed Rule 50 motion for judgment as a

matter of law is granted as to back pay only as of April 1,

2010, and denied in all other respects.          A conditional new trial

is granted as to back pay damages for the period after April 1,

2010.     The defendants’ alternative Rule 59 motion for a new

trial as to Lassiter and J.P. Morgan is granted.            Sharkey’s

request to be reinstated at J.P. Morgan in the event she

ultimately prevails in this matter is denied.

    SO ORDERED:

Dated:       New York, New York
             March 5, 2018


                                     __________________________________
                                                DENISE COTE
                                        United States District Judge




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